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                                                                                   2019 Apr-05 AM 11:22
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                          WESTERN DIVISION

LACIE WILLIAMS,                           §
ADMINISTRATRIX OF THE                     §
ESTATE OF ALTON MICHAEL                   §
WILLIAMS,                                 §
                                          §
              PLAINTIFF,                  §   Case No.:
                                          §
VS                                        §     JURY DEMANDED
                                          §
QUEST LINER, INC. and                     §
KENNEY MARTIN THOMAS,                     §
IV,                                       §
                                          §
              DEFENDANTS.

                                    COMPLAINT
                         STATEMENT OF THE PARTIES
     1. Plaintiff Lacie Williams is a resident citizen of Tuscaloosa County, Alabama

        and is over the legal age of nineteen (19) years. Plaintiff Lacie Williams has

        been appointed the Administratrix of the Estate of Alton Michael Williams.

     2. Defendant Quest Liner, Inc. is a foreign corporation with its principal place

        of business in Dubuque, Iowa.

     3. Defendant Kenney Martin Thomas, IV, hereinafter “Thomas”, is a resident

        citizen of Pasadena, Texas and is over the legal age of nineteen (19) years.


           ALLEGATION OF FEDERAL DIVERSITY JURISDICTION



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4. This court has jurisdiction of this matter based upon 28 U.S.C. § 1332, in

   that there is complete diversity and Defendants Quest Liner, Inc. and

   Thomas are liable to Plaintiff Williams in an amount in excess of Seventy-

   Five Thousand Dollars ($75,000), exclusive of interest and costs.

5. Venue is proper in this court pursuant to 28 U.S.C. § 1391(a)(1) and (c).


                          STATEMENT OF FACTS

6. On or about January 29, 2019 Defendant Thomas was operating a tractor

   trailer for Defendant Quest Liner, Inc. Defendant Thomas was traveling

   westbound on Jack Warner Parkway in Tuscaloosa County. Defendant

   Thomas was operating the tractor more than 10 miles per hour above the

   posted speed limit.

7. Traveling eastbound on Jack Warner Parkway was Tina Williams. Ms. Tina

   Williams was operating a 2018 Toyota 4 Runner. Mr. Alton Michael

   Williams was a passenger in the Toyota 4 Runner. Specifically, Mr.

   Williams was positioned in the front passenger seat.

8. Ms. Tina Williams turned left to enter the Bryant Bridge/Eastern Bypass.

   Ms. Williams had a green light.

9. As she was turning, the passenger side of the Toyota 4 Runner was struck by

   the Quest Liner tractor.

10. The crash occurred at 8:50 p.m.

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11. Alton Michael Williams died at the scene.


                                 COUNT ONE
                      (NEGLIGENCE/WANTONNESS)
12. Plaintiff Lacie Williams adopts and incorporates here by reference all

   previous allegations.

13. Defendant Thomas had a duty to exercise reasonable care when operating

   the Quest Liner tractor on the public roadways.

14. Defendant Thomas failed to exercise reasonable care by driving a tractor

   trailer more than ten miles per hour over the posted speed limit and while

   not maintaining a proper lookout.

15. Said conduct rises to the level of negligence and/or wantonness.

16. At said time and place, Defendant Thomas was an agent, servant and/or

   employee of Defendant Quest Liner, Inc.

17. Defendant Quest Liner, Inc. is vicariously liable for the acts and omissions

   of Defendant Thomas.

18. As a direct and proximate result of the aforementioned acts of negligence

   and/or wantonness, the collision occurred and Alton Michael Williams died.


   WHEREFORE THESE PREMISES CONSIDERED, Plaintiff Lacie

Williams demands judgment against Defendants Quest Liner, Inc. and Thomas

in an amount to be determined by a jury.

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                               COUNT TWO
             (NEGLIGENT /WANTON ENTRUSTMENT)
19. Plaintiff Lacie Williams adopts and incorporates here by reference all

   previous allegations.

20. On or before January 29, 2019, Defendant Quest Liner, Inc. was the owner

   and/or had custody control of the tractor trailer being operated by Defendant

   Thomas.

21. Plaintiff Williams avers that Defendant Thomas was incompetent to operate

   said tractor trailer and that Defendant Quest Liner, Inc. knew, or by the

   exercise of reasonable care, should have known that Defendant Thomas was

   incompetent to operate said vehicle. As a result, Defendant Quest Liner, Inc.

   negligently and/or wantonly entrusted said vehicle to Defendant Thomas.

22. Defendant Quest Liner, Inc.’s negligent and/or wanton entrustment was a

   direct and proximate cause of the collision.


   WHEREFORE THESE PREMISES CONSIDERED, Plaintiff Lacie

Williams demands judgment against Defendant Quest Liner, Inc. in an amount

to be determined by a jury.




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                                  COUNT III
(NEGLIGENT/WANTON HIRING, SUPERVISION, TRAINING AND/OR
                                RETENTION)
 23. Plaintiff Lacie Williams adopts and incorporates here by reference all

    previous allegations.

 24. Defendant Quest Liner, Inc. negligently and wantonly hired, supervised,

    monitored, trained, investigated, and/or retained as an agent, servant, and/or

    employee Defendant Thomas.

 25. As a direct and proximate result of said conduct, the subject collision

    occurred on January 29, 2019.


    WHEREFORE THESE PREMISES CONSIDERED, Plaintiff Lacie

 Williams demands judgment against Defendant Quest Liner, Inc. in an amount

 to be determined by a jury.



                      JURY DEMANDED ON ALL ISSUES




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                                     Respectfully submitted,

                                     /s/R. Matt Glover
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    DEFENDANTS TO BE SERVED VIA CERTIFIED MAIL, RETURN
                   RECEIPT REQUESTED

Quest Liner, Inc.
c/o Registered Agent Gerald Colvin
1910 First Avenue N
Birmingham, AL 35203

Kenney Martin Thomas, IV
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